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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )               No. 17-CR-10092-NMG
                                          )
GARY P. DECICCO,                          )
                                          )
                  Defendant.              )
__________________________________________)

                    DEFENDANT’S SECOND AMENDED WITNESS LIST

        Defendant Gary DeCicco respectfully submits this amended list of witnesses he intends

to call in his case-in-chief.

                       Name                                       Address
 Special Agent Jesse Chizmadia                   Federal Bureau of Investigation
 Special Agent Matthew Elio                      Federal Bureau of Investigation
 Special Agent Sandra J. Lemanski                Federal Bureau of Investigation
 Lieutenant Mark Frenzo                          Massachusetts State Police
 Detective Stacey Forni                          Saugus Police Department
 Detective Frank Morello                         Saugus Police Department
 Lieutenant Robert Wells                         Kingston Police Department
 Richard Aswad                                   Nahant, MA
 Steven Bagnera                                  Revere, MA
 Marty Barnes                                    Weymouth, MA
 Maria Bazzi                                     Revere, MA
 Alen Bejtovic                                   Derry, NH
 Andrew Bisignani                                Nahant, MA
 Sharon Boggs                                    Holbrook, MA
 Liran Cohen                                     Beverly, MA
 Mark Cullinan                                   Nahant, MA
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                    Name                                  Address
Lawrence Cunningham                      Kingston, MA
Nicholas D’Angelo                        Revere, MA
John D’Olimpio                           Georgetown, MA
Kimberly DeBenedictis                    Winthrop, MA
Vincent DeBenedictis                     Saint Augustine, FL
Linda DeCicco                            Nahant, MA
Daniel DiLullo                           Melrose, MA
Albert DiVenuti                          Nahant, MA
Scott Grieves                            Swampscott, MA
Farzad Hagayegi                          Nahant, MA
Robert Inello                            Nahant, MA
Sui Chang Li                             Nahant, MA
Charles Lightbody                        Revere, MA
John Lloyd                               Winthrop, MA
Alfredo Lopilato                         Canton, MA
Sean McMahon                             Boston, MA (Work Address)
Richard Magnan                           Saugus, MA (Work Address)
George Mastoras                          Nahant, MA
Saad Moustafa                            Newton, MA
Corina Milian                            Lynn, MA
Joseph Oteri                             West Newton, MA
Julia Papagno                            Winthrop, MA
Richard Salvo                            Saugus, MA
Richard Scourtas                         Nahant, MA
Sherry Soleymani                         Nahant, MA
Noelle Spinosa                           Malden, MA
John Taglieri                            Nahant, MA
Ralph Texeira                            Revere, MA
Fred Varone                              Saugus, MA
Peter Varone, Jr.                        Revere, MA




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                     Name                                         Address
 Steven Verronneau                                 New Bedford, MA
 Records Custodian of Sprint Spectrum L.P.
 Records Custodian of Verizon Wireless
 Records Custodian of T-Mobile
 Records Custodian of New Cingular
 Records Custodian of Comcast
 Records Custodian of Verizon
 Keeper of Records – Town of Saugus
 Assessment Department
 Keeper of Records – Town of Saugus
 Building Department
 Keeper of Records – River Works Credit
 Union


       Mr. DeCicco reserves the right to further supplement or modify his witness list from time

to time, with reasonable notice to the government.




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                                                  Respectfully submitted,

                                                  GARY P. DECICCO

                                                  By his attorneys,

                                                   /s/ Thomas C. Frongillo
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                                                  Caroline K. Simons (BBO# 680827)
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                                                  FAX: (617) 542-8906

                                                  James J. Cipoletta (BBO# 084260)
                                                  Law Offices of James J. Cipoletta
                                                  Citizens Bank Building
                                                  385 Broadway Suite 307
                                                  Revere, Massachusetts 02151
                                                  jim@cipoletta.com
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Dated: May 25, 2018                               Fax: (781) 289-9468



                              CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document was filed on May 25, 2018
through the CM/ECF system and will be served electronically to registered CM/ECF participants
as identified on the Notice of Electronic Filing.

                                                    /s/ Thomas C. Frongillo
                                                    Thomas C. Frongillo




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